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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS

                              CRIMINAL NO. 07-10283-RGS

                              UNITED STATES OF AMERICA

                                            v.

                                   TODD DONOFRIO


                         MEMORANDUM AND ORDER ON
                       DEFENDANT’S MOTION TO SUPPRESS

                                    January 14, 2009

STEARNS, D.J.

      Defendant Todd Donofrio challenges the seizure of a firearm and ammunition from

the automobile that he was driving on the day of his arrest, July 30, 2007. The vehicle, a

1995 Crown Victoria, was impounded and stored at an FBI garage. Donofrio in the

meantime was committed to the Plymouth House of Corrections.            The firearm and

ammunition were discovered in a concealed compartment behind the back seat of the car

during a search of the vehicle on September 5, 2007. The only issue raised by Donofrio’s

motion to suppress is whether the warrantless search of the Crown Victoria was supported

by probable cause. A hearing on the motion was scheduled for December 18, 2008.

Immediately prior to the hearing, the government and Donofrio agreed to submit the case

to the court on the papers.

                              APPLICABLE RULES OF LAW

      Carroll v. United States, 267 U.S. 132, 158-159 (1925), carved an “automobile

exception” out of the Fourth Amendment’s warrant requirement. Carroll recognized the
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exigency inherent in vehicular mobility as well as the impracticalities involved in obtaining

a warrant after a vehicle is stopped. More recent statements of the vehicle exception have

emphasized the diminished expectation of privacy afforded by vehicles given their “public”

nature and history of invasive regulation by the State. See Cardwell v. Lewis, 417 U.S.

583, 590-591 (1974) (plurality opinion); South Dakota v. Opperman, 428 U.S. 364, 368

(1976); Rakas v. Illinois, 439 U.S. 128, 154 n.2 (1978); California v. Carney, 471 U.S. 386,

392 (1985). “[T]he need to seize readily movable contraband before it is spirited away .

. . is equally weighty when the automobile, as opposed to its contents, is the contraband

that the police seek to secure.” Florida v. White, 526 U.S. 559, 565 (1999) (police lawfully

seized a vehicle parked in a public place without a warrant having probable cause to

believe that it was forfeitable as contraband).

       Another important extension of the automobile exception is found in Chambers v.

Maroney, 399 U.S. 42 (1970), which held that the existence of exigent circumstances is

to be determined at the time the vehicle is seized rather than at the time it is searched.

The Court in Chambers found “no difference between on the one hand seizing and holding

a car before presenting the probable cause issue to a magistrate and on the other hand

carrying out an immediate search [at the station] without a warrant. Given probable cause

to search, either course is reasonable under the Fourth Amendment.” Id. at 52.

       While the search of an impounded vehicle should be conducted without undue

delay, the word “immediate,” as used in Chambers, does not mean “instantaneous.” See

United States v. Johns, 469 U.S. 478, 484 (1985) (three day delay – “no requirement that

the warrantless search of a vehicle occur contemporaneously with its lawful seizure”);


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Cooper v. California, 386 U.S. 58, 61-62 (1967) (permissible one week delay). See also

United States v. Crabb, 952 F.2d 1245, 1246 (10th Cir. 1991) (“[T]ime and opportunity to

obtain a warrant are irrelevant, as constitutional analysis ends with finding probable

cause.”).

       The search must be supported by probable cause to believe that the vehicle

contains contraband or evidence of a crime; there is no requirement, however, that the

search be supported by exigent circumstances. See Pennsylvania v. Labron, 518 U.S.

938, 940 (1996) (per curiam); Maryland v. Dyson, 527 U.S. 465, 466-467 (1999) (per

curiam); United States v. Ross, 456 U.S. 798 (1982); Colorado v. Bannister, 449 U.S. 1

(1980). Cf. Johns, 469 U.S. at 484 (exigent circumstances are not required to search a

vehicle lawfully in police custody). “If probable cause justifies the search of a lawfully

stopped vehicle, it justifies the search of every part of the vehicle and its contents that may

conceal the object of the search.” Ross, 456 U.S. at 825. The search may extend to

compartments of the car (the trunk, glove compartment, console, and engine area),

whether locked or unlocked, and to containers, open or closed, that might conceal

contraband or evidence of the suspected crime. Id. at 817-824. The search of a vehicle

is, however, confined in its intensity by its object. “Just as probable cause to believe that

a stolen lawnmower may be found in a garage will not support a warrant to search an

upstairs bedroom, probable cause to believe that undocumented aliens are being

transported in a van will not justify a warrantless search of a suitcase.” Id. at 824.1


       1
       The government does not seek to justify the search of Donofrio’s vehicle under the
inventory search doctrine, which permits police to inventory the contents of an impounded
vehicle without probable cause so long as they are acting pursuant to a standardized

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                                   PROBABLE CAUSE

       As Donofrio does not dispute the facts presented by the government in its

Opposition (which are derived almost entirely from jail house recordings of conversations

between Donofrio and his girlfriend and others),2 the court will summarize the facts on

which the government relies.

       Donofrio’s troubles began in March of 2005 when the FBI began an investigation

of illegal drug trafficking by members of the Outlaw Motorcycle Club.           Among the

techniques resorted to by the FBI was the deployment of undercover officers posing as

potential drug suppliers. In short order, a deal for the sale of ten kilograms of cocaine was

reached between one of the operatives and Timothy Silvia, a member of the Outlaws’

chapter in Brockton, Massachusetts. On July 30, 2007, the day the deal was to be

consummated, Silvia was driven to the agreed meeting site by Donofrio in the Crown

Victoria. Silvia introduced Donofrio to the undercover officers as his “partner.”3 As FBI

agents moved in to make arrests, Donofrio attempted to flee in the Crown Victoria,

ramming several FBI cars in the process. When Donofrio refused to exit the vehicle,

agents smashed in its windows and forced Donofrio out at gunpoint. The Crown Victoria




administrative procedure. See Colorado v. Bertine, 479 U.S. 367 (1987); South Dakota
v. Opperman, 428 U.S. 364 (1976).
       2
       Donofrio does not dispute the lawfulness of the consensually recorded
conversations. See United States v. Lewis, 406 F.3d 11, 16 (1st Cir. 2005).
       3
       Donofrio was carrying a bag containing a $30,000 down payment for the ten
kilograms of cocaine.

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was seized as evidence and stored at an FBI garage. Donofrio was ordered detained at

the Plymouth House of Corrections.

         The following week, a member of the investigating task force obtained recordings

of jail house telephone calls made by Donofrio. In reviewing the conversations, agents

heard allusions to what they believed were incriminating items hidden by Donofrio in the

Crown Victoria. Among the pertinent excerpts which caught the agents’ attention were the

following.4

         On August 1, 2007, Donofrio told his live-in girlfriend, Jennifer Hickey, that his

prospects for bail depended on “how fucking good [the agents] were.” On August 3, 2007,

Donofrio told Hickey, “I had, that ah, what do you call it, I had the dog bones, I had one of

them dog collars, that, remember that one I always used to keep like at the seat. . . . in the

back.”

         Later that day, Donofrio told Hickey that he wanted “to know what’s up with the car.”

When Hickey told him that the agents would not release the car to her, he asked, “[W]ill

they let you go down and take shit out of it? . . . plates and fucking cds, and ah the fucking

um other thing. That’s what I’m curious about you know.”

         The following exchange then took place.

         Donofrio:     “Do you know why, do you know why ah I’m so concerned
                       about the dog and the car? . . .
         Hickey:       Yeah, I know why.
         Donofrio:     Alright. I mean I don’t want the fucking dogs to get out (unintelligible)
                       I want to fucking know if everything’s okay.


         4
       A fuller version of the transcripts is set out in Government’s Opposition. The
orthography follows that of the court reporter. See Govt. Opposition Memorandum, at 12-
14.

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       Hickey:          I know why.
       Donofrio:        Because if they fuck you know, the dog gets out and, um took all my
                        cd’s and shit, I’m fucked.
       Hickey:          I know. . . .
       Donofrio:        If that’s the case I’m maxed out, see you later.

       The next day, Donofrio again pressed Hickey about the car.

       Donofrio:        I want to know what’s wrong with the car.
       Hickey:          I know.
       Donofrio:        Once I find that out, I’m all set. I’m either gonna be fucking happy
                        they didn’t trash it or I’m gonna be real fucking sick.
       Hickey:          Huh?
       Donofrio:        I’m either gonna be happy or gonna be really sick
                        .       .      .

       Donofrio:        But, see what happens the 14th.5 But um, so what are you, how are
                        you gonna to take care of that?

       Santilli:6       I will, don’t worry about it.
       Donofrio:        No, but the thing is that, like, I don’t know if you talked to Jen about
                        it, like, I’m stressing over this and there’s a, there’s kind of a reason
                        for it, I just want to know the car’s back . . . So, I’m gonna be really
                        happy if they didn’t trash my car, and I’ll be really upset.
       Santilli:        I know.
       Donofrio:        It’s one or the other. At the time they didn’t, they didn’t, you know,
                        obviously at the time they only smashed out all the windows and shit.

       On August 4, 2007, Donofrio, expressing concern that he and Hickey may have

“talked too much” on the jail’s recorded line and that “if they want to hear this shit they [will]

know what’s up.” He instructed Hickey to have a friend steal the “stuff” from the car.

       Donofrio:        You know what I was going to tell you seriously, have ah D ah have
                        D go fucking ah go right there.
       Hickey:          Who?
       Donofrio:        D. The kid that’s got my fuckin’ (unintelligible)
       Hickey:          Oh


       5
           August 14, 2007 was the date scheduled for Donofrio’s bail hearing.
       6
           James Santilli, a friend of Donofrio’s, was on the line with Hickey.

                                                6
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       Donofrio:    have him go there at night fucking ah, grab that stuff
       Hickey:      Somebody was already gonna do that
       Donofrio:    At night?
       Hickey:      Yeah.
       Donofrio:    You know what I mean, just go there after hours.
       Hickey:      Yeah, I know
       Donofrio:    Have Dnuts do it, he’s (unintelligible), he’s been, he did it with me all
                    of our lives (unintelligible)

       After consulting with an Assistant United States Attorney, on August 27, 2007,

agents searched the Crown Victoria without a warrant. They seized a number of CDs and

DVDs that on inspection proved non-incriminating. Convinced that something had been

missed, on September 5, 2007, agents brought in James Bazzinotti, a State Police

Sergeant with an expertise in locating secret car compartments. Behind the frame of the

rear seat of the Crown Victoria, Bazzinotti recovered a concealed Bersa .380 caliber

handgun loaded with six rounds of ammunition.

                              CONCLUSION AND ORDER

       Probable cause requires something more than suspicion but something significantly

less than evidence necessary to convict. See Henry v. United States, 361 U.S. 98, 100-

102 (1959). Probable cause is concerned with probabilities, “the factual and practical

considerations of everyday life on which reasonable and prudent men, not legal

technicians, act.” Brinegar v. United States, 338 U.S. 160, 175 (1949). “The standard of

probable cause is the probability, not a prima facie showing, of criminal activity.” United

States v. Ciampa, 793 F.2d 19, 22 (1st Cir. 1986), quoting Illinois v. Gates, 462 U.S. 213,

235 (1983). I agree with the government that Donofrio’s own words, recorded in the jail

house calls, and interpreted by experienced criminal investigators, see United States v.

Arvizu, 534 U.S. 266, 276 (2002), are sufficient in and of themselves to establish probable

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cause to believe that incriminating evidence would be found in the impounded Crown

Victoria. Consequently, the motion to suppress must be, and is, DENIED.7

                                                SO ORDERED

                                                /s/ Richard G. Stearns


                                                UNITED STATES DISTRICT JUDGE




      7
         The agents reasonably gleaned from the calls that Donofrio was concerned that
if the gun was found he would be denied bail; that he wanted to impress Hickey with the
importance of her reclaiming the car; and that when that plan failed, fearing that he had
said enough in the calls to give the agents a clue that the car contained hidden evidence,
he instructed Hickey to arrange to have one of his friends - D - steal the gun from the car
in the garage where it was impounded.

                                            8
